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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 MEMPHIS LIGHT, GAS &                          )
 WATER DIVISION,                               )
        Plaintiff,                             )
                                               )
 v.                                            )           No. 2:24-cv-02384-SHL-tmp
                                               )
 TRAVELERS CASUALTY & SURETY                   )
 COMPANY OF AMERICA,                           )
        Defendant.                             )


                                          JUDGMENT


JUDGMENT BY COURT. This action having come before the Court on Plaintiff’s Complaint
for Declaratory Judgment and Breach of Performance Bond (ECF No. 1), filed June 7, 2024,
IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that, in accordance with the
Joint Stipulation of Dismissal with Prejudice (ECF No. 24), filed February 14, 2025, all claims
by Plaintiff against Defendant are hereby DISMISSED WITH PREJUDICE.

APPROVED:

s/ Sheryl H. Lipman
SHERYL H. LIPMAN
CHIEF UNITED STATES DISTRICT JUDGE

February 14, 2025
Date
